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                                                       EXHIBIT D

From:                           Judy Brown <jd.brown2017@yahoo.com>
Sent:                           Friday, April 30, 2021 10:39 AM
To:                             Ashton, Jamie B.; Higgins, Kristin Snyder
Subject:                        Re: Brown v. Alixa-RX, et al Order Setting Hearing on Motion [ODNSS-OGL.078339.000002]
Attachments:                    DYER AND SIMPSON.pdf



[Caution: Email received from external source]



 My respond is going out today along with my response to the Order to dismiss Dyer and Simpson, see attached

On Friday, April 30, 2021, 10:30:45 AM CDT, Ashton, Jamie B. <jamie.ashton@ogletree.com> wrote:



Ms. Brown,



Attached is an Order from the Court we received yesterday afternoon setting a hearing and expedited briefing
schedule on Alixa Rx’s Emergency Motion (also attached—this is the same motion that was e-mailed to you
yesterday and sent via certified mail).



The Order requires you to file a response to Alixa Rx’s Emergency Motion no later than 5:00 p.m. on
Wednesday, May 5, 2021, or notify the Court that there is no opposition to the Emergency Motion.



The Court further ordered an in-person hearing before United States Magistrate Judge Christine A. Nowak,
United States Courthouse Annex, 200 North Travis Street, Mezzanine Level, Sherman, Texas, on Thursday,
May 6, 2021 at 3:00p.m.



Per the Order, we mailed you a copy of the attached Order and Emergency Motion. Also, I just left you a
voicemail about the Court’s Order, expedited briefing schedule, and in-person hearing. I called the number we
reached you on yesterday: (682) 701-9471. If you have any questions, please give me a call back at 214-624-
1160.



Thanks,

Jamie




                                                               1
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Jamie B. Ashton | Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
8117 Preston Road, Suite 500 | Dallas, TX 75225 | Telephone: 214-624-1160 | Fax: 214-987-3927
jamie.ashton@ogletree.com | www.ogletree.com | Bio

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